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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 Abdollah Abdollahi et al.,

                       Plaintiffs,                   PLAINTIFFS RESPONSE TO ORDER
                                                          TO    SHOW CAUSE
                v.
                                                          Case Number: 1:19-cv-03688-ABJ
 National Iranian Tanker Co. et al.,

                       Defendants.



                PLAINTIFFS RESPONSE TO ORDER TO SHOW CAUSE


NOW COME the Plaintiffs, Abdollah Abdollahi et al., by and through undersigned counsel, to

show cause why this case should not be dismissed for want of prosecution. In support hereof,

Plaintiffs show the following:

   1. Plaintiffs filed their Complaint on December 10, 2019.

   2. Plaintiffs filed their First Amended Complaint on January 14, 2020.

   3. Service upon Defendants Mr. Ali Rabiei and Mr. Alaeddin Boroujerdi was performed on

       February 17, 2020 via the Iran Ministry of Foreign Affairs, Parliamentary Legal Affairs

       Office as permitted and instructed under Iranian law.

   4. Service upon Defendant the National Iranian Tanker Company (NITC) was performed on

       February 23, 2020 via personal delivery to Mr. Emami, the legal agent of NITC, at their

       offices located at Building #2, East Atefi Street, Tehran, Iran.

   5. A Notice of Default was entered against Defendant NITC on May 3, 2020 following their

       failure to respond to Plaintiffs’ notice of suit and summons.



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6. Defendants Ali Rabiei and Alaeddin Boroujerdi are in default and unresponsive to

   communications. Plaintiffs filed Supplemental Military affidavits (Docket #9) in support

   of the original request for entering the default against Defendants Rabiei and Boroujerdi,

   (Exhibit A).

7. Defendants’ failure to respond to service of the complaint has prevented Plaintiffs from

   receiving any further information or evidence from Defendants that might be included in

   such a response and be relevant to the causes of action raised by Plaintiffs.

8. Following entry of default against all Defendants, Plaintiffs intend to file a motion for

   expedited discovery by August 10, 2020 to allow Plaintiffs to conduct discovery for 90

   days so that they may complete necessary fact-finding to support Plaintiffs’ Motion for

   Default Judgment against Defendants.

9. Plaintiffs’ has to establish jurisdiction under Alien Tort Claim Act, which required more

   evidence to be submitted in support of Plaintiff’s Motion for Default Judgment than non-

   jurisdictional cause of actions. Furthermore, Plaintiffs seek not only monetary damages

   through this suit, but also information and answers regarding the fates of their family

   members who crewed the Sanchi. As such, fact-finding is necessary not only for proving

   damages against Defendants, but also for providing justice and relief to Plaintiffs.

10. Defendants have not participated in this action albeit the proper serving because they do

   not want to participate in the discovery process. Defendants acknowledged and answered

   Plaintiffs’ allegations in Iranian Media, but strategically decided to do not participate in

   this action.

11. Counsel for Plaintiffs are still gathering affidavits from third parties who are not located

   in the United States, such as family members of the Sanchi crew and expert witnesses.



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       These affidavits are necessary to demonstrate the Court’s jurisdiction in this case, and as

       such Plaintiffs have not yet moved for a default judgment against Defendants.

   12. Plaintiffs have identified third parties which may be served subpoenas for production of

       documents necessary for this suit, among these parties are United States Navy that

       participated in International Search and Rescue the day after the accident, and entities

       investigated the Sanchi Tanker after it sank.

   13. Plaintiffs are enthusiastically pursuing required evidence to file the motion for default

       judgment. Plaintiffs, who are families of missing crewmen are counting minutes to get an

       answer about their family members and the judgment against wrongdoers.

THEREFORE, Plaintiffs respectfully request the Court find that this suit should not be dismissed

for want of prosecution, and further request that this Court, by considering the enclosed affidavit

of service, finds Plaintiffs Request for Entry of Default Judgment (Docket #6 ) complete, and

enter notice of default against Defendants Ali Rabiei and Alaeddin Boroujerdi.



Dated July 20, 2020.



Respectfully submitted,


                                                             ______/s/__________________
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